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P|aintiff

VS.
CR. NO. 04-20108-D

MARY |VIOSBY SANDERS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF E-XCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 19, 2005. At that time, counsel for the
defendant requested a continuance of the May 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a @p_o_rt

date of Thursday, May19, 2005, at 9:00 a.m., in Courtroom 3, 9th Floor of the Federa|
Bui|ding, l\/lemphis, TN.

 

The period from May 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) becausethe ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this 025 day Of Apri|, 2005.

QBTM

BERNICE B. DoNALD
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This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) FFlCrP on f ' '6'

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20108 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

